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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-1219V
                                     Filed: February 6, 2017
                                         UNPUBLISHED

****************************
CARLA PINGEL,                         *
                                      *
                    Petitioner,       *       Damages Decision Based on Proffer;
v.                                    *       Influenza;
                                      *       Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                   *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                   *
                                      *
                    Respondent.       *
                                      *
****************************
Matthew B. Vianello, Jacobson Press & Fields, Clayton, MO, for petitioner.
Gordon Elliot Shemin, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On September 28, 2016, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury caused by her
October 8, 2014 influenza vaccination. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

        On December 16, 2016, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On February 6, 2017, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $146,600.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $146,600.00 in the form of a check payable to
petitioner, Carla Pingel. This amount represents compensation for all damages that
would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
CARLA PINGEL,                        )
                                     )
            Petitioner,              )  No. 16-1219V
                                     )  Chief Special Master Dorsey
      v.                             )  ECF
                                     )
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
                                     )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Items of Compensation

       For purposes of this proffer, the term “vaccine-related” is as described in Respondent’s

Rule 4(c) Report, filed on December 15, 2016, conceding entitlement in this case. Based upon

the evidence of record, respondent proffers that petitioner should be awarded $146,600.00. This

represents all elements of competition to which petitioner would be entitled under 42 U.S.C. §

300aa-15(a) for her vaccine-related injury. 1 Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment described below, and request that the Special Master’s decision

and the Court’s judgment award the following:

               A lump sum of $146,600.00 in the form of a check payable to petitioner, Carla
               Pingel. This amounts accounts for all elements of compensation under 42 U.S.C.
               § 300aa-15(a) to which petitioner would be entitled.



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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.
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Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully submitted,

                                                     CHAD A. READLER
                                                     Acting Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     ANN D. MARTIN
                                                     Senior Trial Attorney
                                                     Torts Branch, Civil Division

                                                     /s/ Gordon Shemin
                                                     GORDON SHEMIN
                                                     Trial Attorney
                                                     Torts Branch, Civil Division
                                                     U.S. Department of Justice
                                                     P.O. Box 146
                                                     Benjamin Franklin Station
                                                     Washington, D.C. 20044-0146
                                                     Phone: (202) 616-4208
Dated: February 6, 2017                              Fax: (202) 353-2988




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